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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:06-cr-00038-MP-AK

IVAR MYHRE,
PAUL DAVID MYHRE,
JOHN MICHAEL LOWRY,
ALAN JESSE CROSSLEY,


      Defendants.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 205, Motion to Continue Sentencing, filed by

Alan Jesse Crossley; Docs. 206-07, Motions to Continue Sentencing, filed by John Michael

Lowry; Doc. 208, Motion to Continue Sentencing, filed by Paul David Myhre; and Doc. 209,

Motion to Continue Sentencing by Mark Ivar Myhre. The motions, which are not opposed, are

granted. Sentencing is hereby reset for each defendant for the following dates:

               Alan Crossley - Tuesday 2/5/08 at 4:00 p.m.
               John Lowry - Wednesday 2/6/08 at 3:00 p.m.
               Paul Myhre - Wednesday 2/6/08 at 3:30 p.m.
               Mark Myhre - Wednesday 2/6/08 at 4:00 p.m.

       DONE AND ORDERED this 28th day of November, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
